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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


________________________________________
                                          )
APPLICATION OF USA PURSUANT               )                    ML No: 24-1540
TO 18 U.S.C. § 3512 FOR ORDER FOR         )
COMMISSIONER’S APPOINTMENT FOR            )
MONEY LAUNDERING INVESTIGATION            )
_________________________________________ )

Reference:     DOJ Ref. # CRM-182-94586

                                             ORDER

       Upon application of the United States seeking an order, pursuant to 18 U.S.C. § 3512,

appointing Dennis E. Robinson, Trial Attorney, Office of International Affairs, Criminal

Division, U.S. Department of Justice (or a substitute or successor subsequently designated by the

Office of International Affairs), as a commissioner to execute the above-captioned request from

Switzerland (the Request) to collect evidence for use in a criminal investigation, prosecution, or

proceeding in the Swiss Confederation (Switzerland), and any subsequent, supplemental

requests, and the Court having fully considered this matter,

       IT IS THEREFORE ORDERED, pursuant to the authority conferred by 18 U.S.C. §

3512, that Dennis E. Robinson (or a substitute or successor designated by the Office of

International Affairs) is appointed as a commissioner of this Court (the commissioner) and is

directed to execute the Request and any subsequent, supplemental requests made by Switzerland

in connection with the above-captioned investigation and prosecution and to take such steps as

are necessary to collect the evidence requested in this or any subsequent, supplemental requests

in connection with the same criminal matter. In doing so, the commissioner:
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       1.      may issue commissioner’s subpoenas to be served at any place within the United

States on persons (natural and legal) ordering them or their representatives to appear and to

testify and/or produce evidence located within the United States;

       2.      shall adopt procedures to collect the evidence requested consistent with its use in

the investigation, prosecution, or proceeding in Switzerland for which the Public Prosecutor’s

Office of the Canton of Zurich has requested assistance, which may be specified in the Request

or subsequent requests in this matter or provided by, or with the approval of, the Division of

Police of the Federal Department of Justice and Police;

       3.      may, in collecting the evidence requested, be assisted by persons whose presence

or participation is authorized by the commissioner, including, without limitation, individuals

employed by U.S. law enforcement agencies and/or representatives of Switzerland who, as

authorized or directed by the commissioner, may direct questions to any witness;

       4.      may seek such further orders of this Court as may be necessary to execute this

Request, or subsequent requests in this matter including orders to show cause why persons

served with commissioner’s subpoenas who fail to appear and/or produce evidence should not be

held in contempt;

       5.      shall transmit the evidence collected to Switzerland.



Date: ____________                           ____________________________________
                                             UNITED STATES MAGISTRATE JUDGE




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